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IN THE UNITED sTATES DISTRICT CoURT t ` l ,_, w
FoR THE DISTRICT 0F CoNNECTICUT§?-f’ §§ §"

vs a…' ‘: .

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“ ii;._.":j

 
 

NATIONWIDE PROPERTY AND CASUALTY : CASE NUMBEli:` "
INSURANCE COMPANY a/s/o :
DAVID AND SUSAN DRUMHELLER : 3 1 0 C V 1 7 8 9 P C D
Plaintiff, '
V.
: COMPLAINT
VALENTI MOTORS, INC. d/b/a JAGUAR : JURY TRIAL DEMANDED
SOUTHINGTON, :
Defendant.

 

T0 the above-named defendant(s):

Plaintiff, NATIONWIDE PROPERTY AND CASUALTY INSURANCE COMPANY
a/s/o DAVID AND SUSAN DRUMHELLER, by and through its attorney, David W. Rubin of
The LaW Offlces of David W. Rubin, as and for its Complaint against the defendant VALENTI
MOTORS, INC. d/b/a JAGUAR SOUTHINGTON, alleges as follows:

NATURE OF THIS ACTION

l. This is a subrogation action by the first party property insurer, plaintiff
NATIONWIDE PROPERTY AND CASUALTY INSURANCE COMPANY (hereinafter
“NATIONWIDE”), as subrogee of David and Susan Drumheller (hereinafter “THE
lNSUREDS”).

2. NATIONWIDE paid its insureds in excess of FIVE HUNDRED THOUSAND

DOLLARS ($500,000.00) in connection With a fire Which occurred on November 27, 2008,

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caused by the defendant’s negligent inspection, repair and service of the plaintiffs insureds’
vehicle.

3. This action is brought against the party responsible for the Loss and the resulting
damages sustained by NATIONWIDE.

THE PARTIES

4. Plaintiff, NATIONWIDE, was and is a foreign corporation organized under the
laws of the State of Ohio with its principal place of business at Gne Nationwide Plaza, Columbus,
Ohio, and was at all times hereinafter licensed to issue policies of insurance in the State of
Connecticut

5. At all times pertinent hereto, plaintiff NATIONWIDE provided property insurance
coverage to its insureds, David and Susan Drumheller under a policy of insurance for the real and
personal property that it owned at 58 Edge Hill Road, Wallingford, Connecticut 06492
(hereinal"ter “THE PREMISES”).

6. Upon information and belief, at all relevant times herein, defendant VALENTI
MOTORS, lNC. d/b/a JAGUAR SOUTHINGTON (hereinafter “JAGUAR SOUTHINGTON”)
was and still is a business duly organized and existing under the laws of the State of Connecticut,
with its principal licensed place of business at 480 Queen Street/Rte. lO, Southington, Connecticut
06489.

7. Upon information and belief, prior to November 27, 2008, the defendant owned
and/or operated an automobile repair shop located at 480 Queen Street/Rte. 10, Southington,

Connecticut 06489 (hereinafter “AUTOMOBILE REPAIR SHOP”).

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JURISDICTION

8. The jurisdiction of this Court is based upon diversity of citizenship pursuant to 29
U.S.C.A. §1332, and the matter in controversy exceeds the sum or value of $75,000, exclusive of
interest and costs. Venue is properly laid in the judicial district on the basis of the place of
occurrence

THE LOSS

9. Prior to, and on November 27, 2008, the insureds were the owners of a Jaguar
2002, l\/Iodel X Type S, VIN number SAJEA53D52XC31652 (hereinafter “THE INSUREDS’
VEHICLE”). v

lO. Upon information and belief, prior to November 27, 2008, the defendant repaired
and serviced the insureds’ vehicle at its automobile repair shop.

ll. Upon information and belief, prior to November 27, 2008, the defendant certified
that the insureds’ vehicle was in good repair.

12. On November 27, 2008, a fire originated in the garage of the insureds’ premises,
resulting from defendant’s failure to properly repair and service the insureds’ vehicle, causing
substantial damage and destruction to the insured’s premises and personal property.

13. The aforesaid fire thereafter Spread, causing severe and substantial damage to
plaintiff’ s insured’s property in excess of FIVE HUNDRED THOUSAND DOLLARS
($500,000.0()). Plaintiff reimbursed these sums to its insureds pursuant to the aforementioned

policy of insurance to which it equitably became subrogated to.

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COUNT ONE: NEGLIGENCE
(AS AGAINST DEFENDANT)

14. Plaintiff repeats and re-alleges the allegations contained in the preceding
paragraphs as though fully set forth at length herein.

15. The fire referred to in paragraph ll above and the consequent damage and
destruction to the Plaintiff s insureds’ property was caused by the negligenoe, gross negligence,
careless and/or negligent omissions of defendant and its agents, servants, subcontractors, and/or

employees in:

a. failing to properly repair and service the insureds’ vehicle;

b. allowing the battery cable to be placed in close proximity to the metal frame of the
insureds’ vehicle, causing chaffing, the battery to overheat, and ultimately the
engine compartment to catch fire;

c. failing to protect against chaffing of the cable of the insureds’ vehicle due to a lack
of adequate maintenance, repair and servicing of the vehicle;

d. failing to properly inspect, repair, service and/or troubleshoot the insureds’ vehicle
prior to returning the vehicle to the insureds;

e. failing to properly and adequately supervise the work being done by its
contractors, servants, agents, employees and/or workmen who Serviced and
repaired the insureds’ vehicle;

f. failing to properly and adequately instruct its servants, contractors, employees
and/or workmen as to the safe and proper maintenance of the insureds’ vehicle;

g. failing to recognize the obvious hazard presented by the improper installation,
maintenance, repair and/or servicing of the insureds’ vehicle;

h. retaining incompetent, unlicensed employees, agents, servants, workers,
subcontractors, with requisite skills and abilities to repair and/or service the
insureds’ vehicle, and its related components in a safe fashion;

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i. failing to conduct a proper inspection to detect the dangers associated with the poor
placement of the battery cable and its associated components which defendant
knew or should have known created an unreasonable risk of chaffing, overheating
and ultimately, fire;

j. failing to take the proper steps to supervise the work performed by its employees,
servants, workers, agents, and/or contractors in a way that would protect the
plaintiff’ s vehicle from chaffing, overheating and subsequent fire;

k. failing to adequately, properly and safely erect, assemble, inspect and test the
insureds’ vehicle and/ or its internal components;

l. failing to follow general industry standards concerning the safe repair and servicing
of the vehicle;

m. failing to ensure that its agents, servants, contractors and/or workmen abided by
applicable codes, ordinances, rules and regulations concerning the safe repair and
servicing of the vehicle;

n. failing to warn the insureds’ of the additional risk to their property as a result of the
unsafe repair and service of the battery cable and its associated components;

o. failing to do those things which were necessary for the safety, preservation and
protection of the plaintiff’ s insured’s property; and

p. otherwise failing to use due care and proper skill under the circumstances

16. As a proximate and direct result of the aforesaid negligence, carelessness, gross
negligence and/or negligent omissions of the defendant, the fire referred to in paragraph ll took
place and resulted in damage and destruction to plaintiffs insureds’ property and contents, the
fair and reasonable cost of Which exceeded FIVE HUNDRED THOUSAND DOLLARS
($500,000.00).

WHEREFORE, plaintiff demands judgment against defendants, in an amount in excess
of FIVE HUNDRED THOUSAND DOLLARS ($500,000.00), together with interest and thc

costs of this action.

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COUNT TWO: BREACH OF CONTRACT
(AS AGAINST DEFENDANT)

17. Plaintiff fully incorporates by reference the averments contained in paragraphs “1”
through “15” inclusive

18. For the reasons more particularly set forth in plaintiffs First Cause of Action,
defendant and plaintiffs subrogors entered into a contract whereby defendant was obligated,
among other things, to properly inspect, repair and service the insureds’ vehicle

l9. Defendant breached and/or violated its aforesaid contractual duties, as a result
whereof defendant is liable to plaintiff, for all damages resulting from the aforesaid breaches
and/or violations

20. By the reason of the aforesaid breach of contract, the occurrence referred to in
paragraph ll took place resulted in severe and extensive damage to the insureds’ property and a
loss to the plaintiff in the amount in excess of FIVE HUNDRED THOUSAND DOLLARS

($500,000.00).

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WHEREFORE, plaintiff demands judgment in their favor and against the defendant in the

amount in excess of FIVE HUNDRED THOUSAND DOLLARS ($500,000.00), together with

interest, costs and attorney’s fees.

DATED: Stamford, Connecticut
November 10, 2010

Respectfully submitted,

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